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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISIOn.

 UNITED STATES OF AMERICA.                                 $
                                                           $
                          Plaintiff,                       $
                                                           s
                                                           $           CASE NO. 7:18-CV-338
                                                           $
 27.36 ACRES OFLAND, MORE OR                               $
 LESS, SITUATE IN HIDALGO                                  $
 COUNTY, STATE OF 1PXq5; AND                               $
 HEIRS OF ROMULO CAVAZOS, ET AL.,                          $
                                                           $
                        Defendants                         $



           NOTICE OF DISCLAIMER EXECUTED BY MARY LOU FLOITES


       The United States of America, by Ryan K. Patrick, United States Attomey for the Southem

District of Texas, hereby files a Notice of Disclaimer executed by MARY LOU FLORES. ,lee

fully executed Disclaimer attached     as   Exhibit   l.   Based on the facts set out in the Disclaimer, the

United States of America respectfully requests the Honorable Court to dismiss MARY LOU

FLORES from this cause.

                                                               Respectfu   lly submitted,

                                                               RYAN K. PATRICK
                                                               United States Attomey
                                                               Southem District of Texas

                                                  By:           i(caan fueo
                                                               tI
                                                               MEGAN EYES
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                                                       Attomey in Charge for Plaintiff

                                                       and

                                                       JOHN A. SMITH, III
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                                                       Attomev for Plaintiff




                                  CERTIFICATE OF SERVICE

       I certify that on December I 8, 201 8, a copy ofthe foregoing was electronically filed on the

CM/ECF system, which      will   automatically serve a Notice   of Electronic Filing on counsel of

record, and by regular U.S. mail to all pro se Defendants in this cause.


                                              By:      tI -hbun €az.s
                                                       MEGAN EYES
                                                       Assistant United States Attomey




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                                         Notice of Disclaimer
